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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF OKLAHOMA


UNITED STATES OF AMERICA,

                     Plaintiff,

v.                                                   Case No. 22-CR-115-JFH

RICHARD DALE DEETER, JR.,
DONALD B. PEARSON,
JONNA ELISA STEELE,
JOHNNY WESLEY BOYD SPARKS,
a/k/a “J5,”
IZABELLA MARIE BOLING, a/k/a
“Turbo,”
NICOLE COX,
a/k/a “Nicole Michelle Jenner,”
a/k/a “Nicole Michelle Cox,”
a/k/a “Nicole Patterson,”

                    Defendants.

          Government’s Response to Defendant Deeter’s Motion in Limine
                     Regarding Gang Affiliation (Doc. 116)

     The government expects to offer evidence of the defendants’ gang affiliation as

part of its proof of the conspiracy. The trial Court has broad discretion to admit

evidence. United States v. Knox, 124 F.3d 1360, 1363 (10th Cir. 1997). The United

States, therefore, moves the Court in limine to admit this testimony.

A. Gang Affiliation Evidence is Proof of the Defendants’ Joint Venture and the
   Existence of a Conspiracy

     The government expects to offer evidence of the defendants’ gang affiliation as

part of its proof of the charged firearm and drug conspiracies. The expert witness in
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this case is expected to testify about the Universal Aryan Brotherhood and its

members’ involvement in crimes, including drug distribution. It is well settled that

evidence tending to show a close relationship with those involved in a conspiracy is

relevant for jury consideration. See, e.g., United States v. Robinson, 978 F.2d 1554, 1562

(10th Cir. 1992). Evidence illuminating the nature of relationships between the

accused and their alleged conspirators enables the jury to evaluate whether it was

more likely that the defendants would have conspired with others as charged. United

States v. Guerrero, 169 F.3d 933, 944 (5th Cir. 1999). Numerous courts have

determined evidence of gang involvement, affiliation or association is admissible

when probative of a joint venture, the existence of a conspiracy and the accused’s

participation in it, the relationship between alleged conspirators and/or the basis of

the relationship between the defendants and witnesses. United States v. Brown, 200

F.3d 700 (10th Cir. 1999). Gang affiliation is particularly relevant where the

interrelationship between people is a central issue. Id.; United States v. Hartsfield, 976

F.2d 1349 (10th Cir. 1992), see also United States v. Easter, 66 F.3d 1018, 1020-21 (9th

Cir. 1995) (gang affiliation relevant to question of identity). Gang membership and

items related to gang activity are similar to “tools of the trade” type evidence.

Robinson, 978 F.2d at 1563; United States v. Brown, 200 F.3d 700, 708 (10th Cir. 1999).

   Evidence of the defendants’ gang affiliation would be evidence to demonstrate an

essential element of an offense. This evidence would help to establish an agreement

among the subjects, the purpose of the conspiracy and knowledge on the part of the

individual conspirators. Further, associational evidence may be directly relevant on
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the issues of formation, agreement and purpose of a conspiracy. United States v. Sloan,

65 F.3d 149, 151 (10th Cir. 1995) (evidence of gang activity more probative than

prejudicial when used to prove the existence of a conspiracy); see also United States v.

Archuleta, 737 F.3d 1287 (10th Cir. 2013).

B. The Probative Value of the Evidence Outweighs Any Unfair Prejudice

   Fed. R. Evid. 401 defines evidence as relevant if it has any tendency to make the

existence of any fact that is of consequence to the determination of the action more

probable or less probable than it would be without the evidence. United States v.

Shomo, 786 F.2d 981 (10th Cir. 1986). Generally, all relevant evidence is admissible

under Fed. R. Evid. 402, unless its probative value is substantially outweighed by

considerations enumerated in Fed. R. Evid. 403. Because relevant evidence is

inherently prejudicial it is only unfair prejudice, substantially outweighing probative

value, which permits exclusion of relevant matters under Rule 403.

   In this case, the probative value of the evidence of gang membership outweighs

any prejudice associated therewith. This is a drug conspiracy case which, by its

nature, has prejudicial evidence associated therewith. Most relevant evidence is

prejudicial, only unfairly prejudicial evidence need be excluded. Evidence of gang

affiliation is probative, relevant and any prejudice is outweighed by its probative

value. The government’s prosecution is based, in combination with other proof, on

inferences drawn from evidence of the conspirators’ relationships through their gang

affiliation. Evidence of gang affiliation is part of the evidence the government will



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offer as proof of the conspirators’ agreement, the purpose of the conspiracy and

knowledge on the part of these defendants.

   The government will offer testimony concerning gangs and their involvement in

various criminal activities. Membership in a street gang implies knowledge of

criminal activity routinely conducted by gang members. Evidence tending to show

an agreement between the conspirators will be relevant to the jury’s determination.

In this case, proof of the defendant’s membership in the conspiracy will be based in

part on circumstantial evidence – such as affiliation with the UAB. It has long been

held that “conspiracies are often provable only by circumstantial evidence.” United

States v. Fox, 902 F.2d 1508, 1515 (10th Cir. 1990).

   None of the cases Deeter cites in his motion relate to gang affiliation evidence. In

fact, most deal with admission of uncharged crimes against the defendants. Thus,

their holdings are not applicable to this matter. While U.S. v. McDermott, 64 F.3d

1448 (10th Cir. 1995), did involve a Continuing Criminal Enterprise charge, the

ruling in that case related to the admission of evidence that defendant threatened to

have his friend's ex-fiancé killed.




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                                      Conclusion

   The evidence of the gang related materials is properly relevant in this case. Any

prejudice is outweighed by its probative value.


                                        Respectfully submitted,

                                        CLINTON J. JOHNSON
                                        United States Attorney


                                         /s/ David A. Nasar
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                             CERTIFICATE OF SERVICE

    I hereby certify that on this 28th day of December, 2022, I electronically
transmitted the foregoing document to the Clerk of the Court using the ECF System
for filing and transmittal of a Notice of Electronic Filing to the following ECF
registrants:

Randy Lynn
Attorney for Richard Dale Deeter, Jr.

Clint James
Attorney for Donald B. Pearson

Richard White
Attorney for Jonna Elise Steele

Jeffrey Williams
Attorney for Johnny Wesley Boyd Sparks

Scott Troy
Attorney for Izabella Marie Boling

Michael Noland
Attorney for Nicole Cox




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